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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                  Case No: 1:16-cr-37

v.                                                         HON. JANET T. NEFF

SHAWN MCKNIGHT,

               Defendant.
                                         /


               ORDER ADOPTING REPORT AND RECOMMENDATION

       The Court has reviewed the Report and Recommendation filed on May 3, 2016 by the United

States Magistrate Judge in this action. The Report and Recommendation was duly served on the

parties, and no objection has been made thereto within the time required by law.

       THEREFORE, IT IS ORDERED that:

       1. The Report and Recommendation of the Magistrate Judge (Dkt 360) is approved and

adopted as the opinion of the Court.

       2. Defendant's Motion to Enter a No-Contest Plea (Dkt 352) is DENIED.



Dated: May 23, 2016                                  /s/Janet T. Neff
                                                    JANET T. NEFF
                                                    United States District Judge
